                           EXHIBIT 12




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EVIDENTIARY OBJECTIONS TO THE UNITED STATES’ COUNTER-STATEMENT OF MATERIAL FACTS (“CSOF”)


  I.       Summary Table of Objections

General Objection (“GO”)                     Applicable Standard                                                       Paragraphs in Violation

1. The assertion is not supported by         Each disputed fact “must be set forth . . . with specific citations to    CSOF ¶¶ 2, 3, 4, 5, 6, 7, 8,
the cited evidence, not supported by         the record supporting the contention that such fact is in dispute.”       9, 11, 13, 14, 16, 18, 19,
competent evidence or not supported          M.D. Tenn. Loc. R. 56.01(c) (emphasis added); see also Fed. R.            20, 23, 26, 27, 30, 31, 32,
by any record evidence at all.               Civ. P. 56(c)(1)-(2) (requiring a party, if supporting their assertion    33, 34, 37, 40, 41, 42, 43,
                                             with evidence, to “cit[e] to particular parts of materials in the         44, 45, 46, 47, 49, 50, 51,
                                             record” and noting “a party may object that the material cited to         52, 53, 54, 57, 59, 60, 61,
                                             support or dispute a fact cannot be presented in a form that would        62, 64, 66, 67, 68, 69, 70,
                                             be admissible in evidence”). As such, a party may not deny facts          71, 72, 73, 74, 75, 76, 78,
                                             without citing to supporting evidence. Kilpatrick v. HCA Human            79, 80, 81.
                                             Res., LLC, 2022 WL 866258, at *1-2 (M.D. Tenn. Mar. 22, 2022)
                                             (Campbell, J.) (in response to defendant’s objection that
                                             plaintiff’s statement of undisputed material fact (“SUMF”)
                                             response “denies facts without citing to any part of the record to
                                             support his position, or in some cases without any cite to the
                                             record at all,” holding that “the Court will disregard . . . statements
                                             for which there is no citation to the record”).

2. The government impermissibly              The non-movant’s response is limited to a “concise statement of           CSOF ¶¶ 2, 3, 4, 7, 9, 11,
injects argument instead of opposing         any additional facts that the non-movant contends are material.”          13, 16, 20, 25, 26, 29, 30,
facts by, rather than citing to facts, (i)   M.D. Tenn. Loc. R. 56.01(c) (emphasis added). See also Fed. R.            33, 34, 35, 37, 39, 40, 41,
offering characterizations of material       Civ. P. 56(a), (c)(2) (noting that a party must assert that a material    42, 43, 44, 45, 46, 47, 49,
in the record in the form of                 “fact . . . is genuinely disputed,” that “a party may object that the     50, 51, 52, 57, 59, 60, 63,
unsupported        conclusions       and     material cited to support or dispute a fact cannot be presented in a      64, 68, 72, 79, 80, 81.
opinions; (ii) characterizing material       form that would be admissible in evidence”) (emphasis added).
in the record or testifying without          As such, a party must not “inject[] argument instead of opposing
personal knowledge; and/or (iii)             facts.” Kilpatrick, 2022 WL 866258, at *1-2 (holding that “the
making legal conclusions.                    Court will disregard all argument [and] characterization of
                                             documents”); McLemore v. Gumucio, 619 F. Supp. 3d 816, 826
                                             (M.D. Tenn. 2021) (finding that if a statement is “an assertion of
                                             something that is not a fact at all (but rather, say, an opinion or a

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                                         legal principle), the statement is not properly included in a Rule
                                         56.01 statement”).

                                         A declaration used to oppose a motion must be “made on personal
                                         knowledge, set out facts that would be admissible in evidence, and
                                         show that the affiant or declarant is competent to testify on the
                                         matters stated.” Fed. R. Civ. P. 56(c)(4); see also Fed. R. Evid.
                                         602 (“A witness may testify to a matter only if evidence is
                                         introduced sufficient to support a finding that the witness has
                                         personal knowledge of the matter.”).

                                         A legal assertion is not a “fact.” See M.D. Tenn. Loc. R. 56.01(c);
                                         Fed. R. Civ. P. 56(a); McLemore, 619 F. Supp. 3d at 826;
                                         Bridgeport Music, Inc. v. WB Music Corp., 2006 WL 903737, at
                                         *2 n.3 (M.D. Tenn. Apr. 6, 2006), aff’d, 508 F.3d 394 (6th Cir.
                                         2007) (“Response[s] to statement of undisputed facts are not the
                                         place for legal argument.”); Turner v. Nat’l Ass’n of Letter
                                         Carriers Branch No. 27, 2022 WL 807378, at *5 n.17 (W.D. Tenn.
                                         Feb. 11, 2022), report and recommendation adopted, 2022 WL
                                         801555 (W.D. Tenn. Mar. 15, 2022) (“Whether or not the
                                         accusation was false is a legal conclusion and thus irrelevant to
                                         establishing the undisputed facts.”).

3. The government cites expert           The non-movant’s response is limited to a “concise statement of       CSOF ¶¶ 8, 26, 32, 40, 41,
reports or declarations as record        any additional facts.” M.D. Tenn. Loc. R. 56.01(c) (emphasis          44, 66, 67, 69, 70, 71, 72,
evidence underlying asserted facts,      added); see also Fed. R. Civ. P. 56(a)-(c); Fed. R. Evid. 703         73, 74, 75, 76, 78, 79, 80,
despite the fact that these assertions   (noting that “an expert may base an opinion on facts or data in the   81.
(i) constitute opinions and not facts;   case”) (emphasis added); Kilpatrick II, 2022 WL 866258, at *1-2
(ii) are not made based on personal      (in response to defendant’s objection that plaintiff’s SUMF
knowledge; and/or (iii) do not           response “injects argument instead of opposing facts,” holding
                                         that “the Court will disregard all argument”); Assurance Co. of
                                         Am. v. Cont'l Dev. & Const., Inc., 2009 WL 1616760, at *12 (M.D.

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General Objection (“GO”)            Applicable Standard                                                   Paragraphs in Violation

comply with Rule 702 and are not Tenn. June 8, 2009), aff'd, 392 F. App’x 472 (6th Cir. 2010)
admissible.                      (“Simply having experts restate general facts and announce legal
                                 conclusions without any analysis does not create a genuine issue
                                 of material fact.”) (internal citation omitted).

                                    An affidavit or declaration must be “made on personal knowledge,
                                    set out facts that would be admissible in evidence, and show that
                                    the affiant or declarant is competent to testify on the matters
                                    stated.” Fed. R. Civ. P. 56(c)(4); see also Portwood v.
                                    Montgomery Cnty., Tenn., 2014 WL 6871516, at *7 (M.D. Tenn.
                                    Dec. 5, 2014) (noting that Rule 56(c)(4) requires declarations at
                                    summary judgment to be “made on personal knowledge” and
                                    finding that “[a]n expert opinion offered at the summary judgment
                                    stage is held to the same standard as other declarations”).

                                    “A party may object that the material cited to support or dispute a
                                    fact cannot be presented in a form that would be admissible in
                                    evidence.” Fed. R. Civ. P. 56(c)(2). See also Fed. R. Evid. 702;
                                    Portwood, 2014 WL 6871516, at *7 (“An expert opinion offered
                                    at the summary judgment stage is held . . . to Federal Rule of
                                    Evidence 702, which governs the admissibility of expert
                                    testimony.”).

4. The assertion is based on “A party may object that the material cited to support or dispute a CSOF ¶¶ 61, 62.
inadmissible hearsay.        fact cannot be presented in a form that would be admissible in
                             evidence.” Fed. R. Civ. P. 56(c)(2); see also Fed. R. Evid. 802
                             (providing that hearsay is not admissible); Jarvis v. Hickman Cnty.
                             Jail Med. Staff, 2014 WL 2515167, at *6 (M.D. Tenn. May 27,
                             2014) (noting that party “must submit admissible evidence to
                             defeat a motion for summary judgment” and holding that “hearsay
                             cannot be considered on a motion for summary judgment”) (citing


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                                      Southerland v. Mich. Dep’t of Treasury, 344 F.3d 603, 620 (6th
                                      Cir. 2003)).

5. A declaration that contradicts a   A party must demonstrate the existence of a genuine dispute of CSOF ¶¶ 9, 10, 62, 67.
previous sworn statement without      material fact. M.D. Tenn. Loc. R. 56.01(c)(1); Fed. R. Civ. P.
sufficient explanation does not       56(c)(1). “[A] party cannot create a genuine issue of fact
create a genuine issue of material    sufficient to survive summary judgment simply by contradicting
fact.                                 his or her own previous sworn statement (by, say, filing a later
                                      affidavit that flatly contradicts that party's earlier sworn
                                      deposition) without explaining the contradiction or attempting to
                                      resolve the disparity.” Cleveland v. Pol’y Mgmt. Sys. Corp., 526
                                      U.S. 795, 806 (1999).

6. The assertions are not material to The non-movant may only provide additional facts “that the non-      CSOF ¶¶ 2, 9, 10, 11, 12,
the motion for summary judgment.      movant contends are material.” M.D. Tenn. Loc. R. 56.01(c)           15, 17, 19, 20, 26, 27, 30,
                                      (emphasis added); McLemore v. Gumucio, 619 F. Supp. 3d 816,          31, 33, 34, 35, 36, 41, 42,
                                      823 (M.D. Tenn. 2021) (finding that a fact is material only if its   43, 44, 45, 46, 47, 49, 50,
                                      “existence or non-existence will affect the outcome of the           52, 53, 54, 55, 57, 63, 64,
                                      lawsuit”).                                                           66, 67, 68, 69, 70, 71, 72,
                                                                                                           73, 74, 75, 76, 78, 81.

7. The government cites to facts that The purpose of filing a response to a party’s SUMF is to             CSOF ¶¶ 11, 12, 13, 15,
are otherwise undisputed.             “demonstrate[e] that the fact is disputed.” M.D. Tenn. Loc. R.       17, 19, 20, 21, 22, 23, 24,
                                      56.01(c)(3); see also Anderson v. McIntosh Constr., LLC, 2014        29, 30, 38, 45, 48, 56, 58,
                                      WL 2207924, at *2 (M.D. Tenn. May 28, 2014), aff'd, 597 F.           59, 65.
                                      App’x 313 (6th Cir. 2015) (“[N]otwithstanding specific warnings
                                      from this court in recent cases, [plaintiff]’s counsel filed a
                                      statement of undisputed material facts, even though Local Rule
                                      56.01 does not permit that type of submission. Instead, Local Rule
                                      56.01(c) permits a plaintiff to file a responsive statement of
                                      disputed facts in an effort to avoid the grant of summary


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                                       judgment. For this reason alone, [plaintiff’s] statement of facts
                                       may be ignored.”).

8. The government cites generally to   A party must cite to specific or particular parts of materials. See CSOF ¶¶ 3, 4, 8, 26, 27,
a document or multiple documents       M.D. Tenn. Loc. R. 56.01(c) (requiring “specific citations to the 31, 32, 37, 40, 41, 44, 47,
without any pincite or other           record”); Fed. R. Civ. P. 56(c)(1) (requiring citations to “particular 50, 57, 66, 67.
guidance as to which document or       parts of materials”). Emerson v. Novartis Pharms. Corp., 446 F.
which portions of lengthy documents    App’x 733, 736 (6th Cir. 2011) (“Judges are not like pigs, hunting
it is citing.                          for truffles that might be buried in the record.”) (internal citation
                                       and quotation marks omitted); Gohl v. Livonia Pub. Sch., 134 F.
                                       Supp. 3d 1066, 1077 (E.D. Mich. 2015), aff'd sub nom. Gohl v.
                                       Livonia Pub. Sch. Sch. Dist., 836 F.3d 672 (6th Cir. 2016)
                                       (“Global, generic citations to multiple-page exhibits . . . without
                                       specific pinpoint citations to guide the court's review are
                                       inadequate to . . . withstand a summary judgment motion.”)
                                       (citation omitted).

9. The same paragraph contains Each fact must be set forth in a “separate, numbered paragraph.” CSOF ¶¶ 20, 26, 43, 45,
numerous purported facts.      M.D. Tenn. Loc. R. 56.01(c).                                     47, 64, 67, 68.




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     II.   Table of Additional Facts to Which Methodist Objects

    CSOF Cite    Objectionable Language 1                                              Objection(s)

    CSOF ¶ 2     At the time, oncology practices that were faced with increasing       GO No. 1: This assertion is not supported by the
                 costs and declining reimbursements began partnering with              cited evidence. Reply at 7.
                 hospitals that could capitalize on the 340B Program, which would
                 allow hospitals to realize millions in savings, which then could be   GO No. 2: This is not a fact, but rather the
                 funneled back to the physicians through various contractual           government’s improper characterization of
                 arrangements. ECF No. 323-34; 323-64.                                 materials in the record. Id.

                                                                                       GO No. 6: This assertion is not material to the
                                                                                       motion for summary judgment. Id.

                 At the time, oncology practices that were faced with increasing GO No. 6: This assertion is not material to the
                 costs and declining reimbursements began partnering with motion for summary judgment. Reply at 8.
                 hospitals that could capitalize on the 340B Program, which would
                 allow hospitals to realize millions in savings, which then could be
                 funneled back to the physicians through various contractual
                 arrangements. ECF No. 323-34; 323-64.

    CSOF ¶ 3     Methodist was not able to access the revenues and savings GO No. 1: This assertion is not supported by the
                 associated with West’s patients absent doing the deal proposed by cited evidence. Reply at 8.
                 West, which included . . . assuming the bulk of its overhead and
                 expenses. . . ECF Nos. 323-11-14; 323-34.                         GO No. 2: This is not a fact, but rather the
                                                                                   government’s improper characterization of
                                                                                   materials in the record. Id.

                 Methodist was not able to access the revenues and savings GO No. 1: This assertion is not supported by the
                 associated with West’s patients absent doing the deal proposed by cited evidence. Reply at 8.
                 West, which included . . . entering into a management agreement

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 Where applicable, the portion(s) of the fact generating an objection are underlined. Portions of a paragraph that are not relevant to a
particular objection may be omitted, as indicated by ellipses.

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CSOF Cite   Objectionable Language 1                                             Objection(s)

CSOF ¶ 3    whereby Methodist paid West to manage its own patients. ECF GO No. 2: This is not a fact, but rather the
            Nos. 323-11-14; 323-34.                                     government’s improper characterization of
                                                                        materials in the record. Id.

            Methodist was not able to access the revenues and savings            GO No. 1: This assertion is not supported by the
            associated with West’s patients absent doing the deal proposed by    cited evidence. Reply at 8.
            West, which included acquiring the West clinic locations under
            the APA, and agreeing to compensate West for professional            GO No. 2: This is not a fact, but rather the
            services at rates that exceeded its pre-deal collections under the   government’s improper characterization of
            PSA, employing and leasing almost all of its staff and assuming      materials in the record. Id.
            the bulk of its overhead and expenses, as well as entering into a
            management agreement whereby Methodist paid West to manage           GO No. 8: The government cites generally to a
            its own patients. ECF Nos. 323-11-14; 323-34.                        document without any pincite or other guidance
                                                                                 as to which portion of the lengthy document it is
                                                                                 citing. Reply at 8.

CSOF ¶ 4    By doing a deal with West, Methodist obtained West’s outpatient      GO No. 1: This assertion is not supported by the
            referrals and also incentivized West to send its inpatients to       cited evidence. Reply at 8-9.
            Methodist since it would be paid at higher rates than what it
            would otherwise have received in professional collections. ECF       GO No. 2: This is not a fact, but rather the
            Nos. 323-11; 323-19 and 323-20; 323-34; 323-64.                      government’s improper characterization of
                                                                                 materials in the record. Id.

                                                                                 GO No. 8: The government cites generally to
                                                                                 multiple documents without any pincite or other
                                                                                 guidance as to which document or which portions
                                                                                 of lengthy documents it is citing. Id.

            By doing a deal with West, Methodist obtained West’s outpatient GO No. 2: This is not a fact, but rather
            referrals and also incentivized West to send its inpatients to speculative testimony by the government that is
            Methodist since it would be paid at higher rates than what it not based on personal knowledge. Reply at 9.


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CSOF Cite   Objectionable Language 1                                         Objection(s)

            would otherwise have received in professional collections. ECF
            Nos. 323-11; 323-19 and 323-20; 323-34; 323-64.

CSOF ¶ 5    Methodist knew that if it acquired West’s clinic locations and GO No. 1: This assertion is not supported by the
            converted them to Methodist hospital-owned provider-based cited evidence. Reply at 9–10.
            locations, West would necessarily refer its patients to Methodist
            for treatment at these locations, as the patients would be simply
            continuing to go their physicians for treatment in the same places
            that West had been treating them. Ex. GG (McLean Dep. Vol. II)
            at 68:19-69:1.

CSOF ¶ 6    As a result, Methodist would be able to obtain the collections GO No. 1: This assertion is not supported by any
            associated with facility, lab, technical and ancillary fees, as well record evidence. Reply at 10.
            as chemotherapy and other drugs relating to West’s patients for
            which Methodist could then bill Medicare and other insurers. . . .

            Methodist’s pre-deal internal documents show that it considered GO No. 1: This assertion is not supported by the
            how much it would profit from converting the sites to provider- cited evidence. Reply at 10.
            based locations. Sweet Decl., Ex. 30 (Profit on Provider Based
            Location).

CSOF ¶ 7    In selling its clinic locations, West would be losing collections GO No. 1: These assertions are not supported by
            associated with the technically and facility component, instead the cited evidence. Reply at 10–11.
            would be limited to professional collections. To offset this loss,
            West would need some other way to increase its revenue by
            finding a hospital that had the financial ability to pay West
            through the other agreements, such as a professional services
            agreement and a management agreement. This is why it was
            important for West to choose a hospital that could participate in
            the 340B Program. Ex. I (Shorb Dep.) at 71:2-6.



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CSOF Cite   Objectionable Language 1                                              Objection(s)

CSOF ¶ 7    To offset this loss, West would need some other way to increase       GO No. 2: These are not facts, but rather
            its revenue by finding a hospital that had the financial ability to   improper characterization and speculative
            pay West through the other agreements, such as a professional         testimony by the government that is not based on
            services agreement and a management agreement. This is why it         personal knowledge. Reply at 10–11.
            was important for West to choose a hospital that could participate
            in the 340B Program. . . .

CSOF ¶ 8    Methodist’s internal documents also show that it intended to share GO No. 1: This assertion is not supported by the
            the savings realized from the 340B Program with West. . . . ECF cited evidence. Reply at 11.
            No. 328-1.

            Methodist’s internal documents also show that it intended to share    GO No. 3: The government cites to an expert
            the savings realized from the 340B Program with West.                 report (i) for an assertion that constitutes opinion
            Methodist even told West how much money it expected to make           and not fact; (ii) for an assertion that is not made
            from the deal, which, as the United States’ expert Tim Smith          based on personal knowledge; and (iii) that
            stated, is not standard industry practice. ECF No. 328-1.             constitutes inadmissible expert testimony under
                                                                                  Rule 702. Reply at 11.

                                                                                  GO No. 8: The government cites generally to a
                                                                                  document without any pincite or other guidance
                                                                                  as to which portion of the lengthy document it is
                                                                                  citing. Id.

CSOF ¶ 9    During the deal negotiations and subsequently, Methodist              GO No. 1: This assertion is not supported by the
            expressed a willingness to use the 340B Program savings, which        cited evidence. Reply at 12.
            it referred to as the “lift” to compensate physicians in exchange
            for their referrals.          Stern. Decl. ¶¶ 10-20 & Ex.             GO No. 5: This statement contradicts the
            2. . . .                                                              declarant’s sworn testimony. Id.

            During the deal negotiations and subsequently, Methodist GO No. 2: The interpretation of an email and
            expressed a willingness to use the 340B Program savings, which bracketed alterations are not facts, but rather the
            it referred to as the “lift” to compensate physicians in exchange

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CSOF Cite   Objectionable Language 1                                            Objection(s)

CSOF ¶ 9    for their referrals.       Stern. Decl. ¶¶ 10-20 & Ex. government’s improper characterization                    of
            2. For example, in considering a subsequent relationship with materials in the record. Reply at 12.
            another clinic, Methodist’s CEO Shorb stated: “I am committed
            to 100 percent of [the] Jones [Clinic] [savings of $1.0-$1.3
            million in 340B dollars] going to lift.” Sweet Decl., Ex. 77
            (Shorb email to Mounce re: Dinner with Schwartzberg as of
            07/10/15). . . .

            . . . .For example, in considering a subsequent relationship with GO No. 6: This assertion is not material to the
            another clinic, Methodist’s CEO Shorb stated: “I am committed motion for summary judgment. Reply at 12.
            to 100 percent of [the] Jones [Clinic] [savings of $1.0-$1.3
            million in 340B dollars] going to lift.” Sweet Decl., Ex. 77
            (Shorb email to Mounce re: Dinner with Schwartzberg as of
            07/10/15). . . .

            . . . .And Methodist in fact did compensate West more because of GO No. 1: This assertion is not supported by
            the 340B Program savings its was able to realize through West’s competent record evidence. Reply at 12–13.
            referrals. Liebman Decl., ¶ 53.
                                                                             GO No. 5: This statement contradicts the
                                                                             declarant’s sworn testimony. Id.

            . . . .And Methodist in fact did compensate West more because of GO No. 2: This is not a fact, but rather the
            the 340B Program savings its was able to realize through West’s government’s       improper      and     ambiguous
            referrals. . . .                                                 characterization of materials in the record. Reply
                                                                             at 12–13.

CSOF ¶ 10   Chris McLean told Mr. Liebeman that “he had calculated drug         GO No. 5: This statement contradicts the
            profits under the 340B Program from the West physicians’            declarant’s sworn testimony. Reply at 13.
            referrals and how to use those new profits to move the main focus
            of the cancer service line to Germantown where the West             GO No. 6: This assertion is not material to the
            physicians preferred to practice. Germantown is the wealthier       motion for summary judgment. Id. at 13–14.
            suburb of Memphis. McLean boasted that this strategy was the

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CSOF Cite   Objectionable Language 1                                              Objection(s)

            way to incentivize the doctors to join with Methodist, make more
            money, and move away from the urban campus to the wealthiest
            suburb with higher reimbursement rates from more cancer
            patients with commercial insurance and Medicare coverage.”
            Liebman Decl., ¶ 28

CSOF ¶ 11   This is precisely why it was a key factor for West in bringing its    GO No. 1: This assertion is not supported by the
            business to any hospital was whether the hospital could utilize the   evidence cited. Reply at 14.
            340B Program that would allow the hospital to realize significant
            savings. . . . Sweet Decl., Ex. 9 (Baptist, Methodist and Tenet       GO No. 2: This is not a fact, but rather the
            Responses Pros and Cons).                                             government’s improper characterization of
                                                                                  materials in the record and testimony of
                                                                                  government counsel made without personal
                                                                                  knowledge. Id.

            . . . .Methodist was the only hospital that West approached that GO No. 6: This assertion is not material to the
            could participate in the 340B Program. Sweet Decl., Ex. 9 motion for summary judgment. Reply at 14.
            (Baptist, Methodist and Tenet Responses Pros and Cons).
                                                                             GO No. 7: This fact is plainly undisputed. Id.

CSOF ¶ 12   Methodist also knew that West has historically been aligned with GO No. 6: This assertion is not material to the
            Baptist, which it knew was not participating in the 340B Program motion for summary judgment. Reply at 14.
            and referred most of its patients to Baptist for inpatient needs.
            ECF No. 323-34; Ex. G (McLean Dep. Vol. I) 42:21-44:17.           GO No. 7: This fact is plainly undisputed. Id.

CSOF ¶ 13   Another means of compensating West was through an investment GO No. 1: This assertion is not supported by the
            in ACORN, as reflected in the June 3, 2011 Letter of Intent evidence cited. Reply at 15.
            between Methodist and West. Compl. ¶ 107; Answer ¶ 107.
                                                                         GO No. 2: This is not a fact, but rather a legal
                                                                         conclusion advanced by the government. Id.




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CSOF Cite   Objectionable Language 1                                          Objection(s)

            Another means of compensating West was through an investment GO No. 7: This fact is plainly undisputed. Reply
            in ACORN, as reflected in the June 3, 2011 Letter of Intent at 15.
            between Methodist and West. Compl. ¶ 107; Answer ¶ 107.

CSOF ¶ 14   Methodist’s internal documents show that it expected revenues to GO No. 1: This assertion is not supported by the
            increase from $1.25 billion to $1.45 billion with the West evidence cited. Reply at 15.
            transaction. Methodist’s then CEO Shorb predicted that the
            impact of the deal to both Methodist and West would result in a
            financial impact of $17.79 million, with $10.784 million of that
            amount going to Methodist. Ex. I (Shorb Dep.) at 89:9-90:12;
            Sweet Decl., Ex. 76 (Mounce Email to Somer re: Co-
            Management, as of 9/15/15).

CSOF ¶ 15   Prior to the affiliation, the parties anticipated that the savings GO No. 6: These assertions are not material to
            from the 340B Program would be $15 million. Stern Decl. ¶ 18 the motion for summary judgment. Reply at 16.
            & Ex. 2. Methodist initially intended to divide the savings
            equally among Methodist, West and UTHSC, who was a partner GO No. 7: These facts are plainly undisputed. Id.
            in the vision that Methodist had to one day create an NCI-
            designated cancer. However, it ultimately only gave UTHSC $5
            million, even though Mr. McLean testified that the amount of
            savings approached $50 million in one year alone. ECF No. 235
            (“Complt.”) ¶ 328; ECF No. 242 (“Answer”) ¶ 328

CSOF ¶ 16   Methodist also knew how much West expected to be compensated      GO No. 1: This assertion is not supported by the
            for doing the deal and the amount it expected to receive during   evidence cited. Reply at 16.
            the course of the affiliation. See, e.g., Sweet Decl. Ex. 20
            (Mounce email to McLean re: HAI of 09/29/11) (“numbers we         GO No. 2: This is not a fact, but rather the
            have sold to our shareholders”).                                  government’s improper characterization of an
                                                                              email in the record and testimony of government
                                                                              counsel made without personal knowledge. Id.



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EVIDENTIARY OBJECTIONS TO THE UNITED STATES’ COUNTER-STATEMENT OF MATERIAL FACTS (“CSOF”)


CSOF Cite   Objectionable Language 1                                          Objection(s)

CSOF ¶ 17   When Methodist obtained a preliminary estimate of the GO No. 6: This assertion is not material to the
            management fee at $3.362 million in September 2011, Chris motion for summary judgment. Reply at 16.
            McLean noted that it was about $1 million too low. Sweet Decl.
            Ex. 17 (McLean email to Mounce re: HAI of 09/26/11).           GO No. 7: This fact is plainly undisputed. Id.

CSOF ¶ 18   Mr. McLean and Mr. Mounce then worked together to ensure that GO No. 1: This assertion is not supported by the
            West would receive the total amount to which Methodist agreed. evidence cited. Reply at 17.
            Sweet Decl. Ex. 17 (McLean email to Mounce re: HAI of
            09/26/11). (“I know you [Chris McLean] and Gary have
            committed to getting us there on the dollars and our lawyers seem
            to think that we can get there without a compliance issue.”).

CSOF ¶ 19   As part of the deal with West, on December 8, 2011, Methodist, GO No. 6: This assertion is not material to the
            through its subsidiary for-profit arm, Ambulatory Operations, motion for summary judgment. Reply at 17.
            Inc., invested $7 million into ACORN, which Dr. Schwartzberg
            founded in 2002 and acted as its President and Chief Medical GO No. 7: These facts are plainly undisputed. Id.
            Officer at the time of the transaction. ACORN’s affiliation with
            Methodist and West is noted in the vision for the West Cancer
            Center set out in the attachment to the PSA. Compl. ¶ 184;
            Answer ¶ 184.

CSOF ¶ 20   Under the terms of the deal, Methodist paid $3.5 million in cash GO No. 7: These facts are plainly undisputed.
            as a capital contribution, and a $3.5 million loan. Methodist was Reply at 17.
            aware that $3.5 million in cash would be used by ACORN to pay
            back debt owed to Dr. Schwartzberg personally and to West as a
            company. Compl. ¶¶ 187-188; Answer ¶ 187-188; Sweet Decl.
            Ex. 15 (ACORN Closing Statement). . . .

            . . . .Methodist was aware that $3.5 million in cash would be used GO No. 1: This assertion is not supported by the
            by ACORN to pay back debt owed to Dr. Schwartzberg evidence cited. Reply at 18.
            personally and to West as a company. Compl. ¶¶ 187-188;


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CSOF Cite   Objectionable Language 1                                               Objection(s)

            Answer ¶ 187-188; Sweet Decl. Ex. 15 (ACORN Closing
            Statement). . . .

            . . . .There was no legitimate business reason for Methodist to        GO No. 5: This statement contradicts the
            invest in ACORN, and the work that ACORN was supposedly                declarant’s sworn testimony. Reply at 18.
            doing was not in furtherance of the goals of non-profit institutions
            or creating an NCI-designated cancer center, as Dr. Stern              GO No. 6: This assertion is not material to the
            participated on the ACORN Board, has attested. Stern. Decl., ¶¶        motion for summary judgment. Id.
            94-111. . . .

            . . . . The ACORN investment (which later became known as GO No. 2: This is not a fact, but rather the
            Vector) was simply another means of paying West a kickback to government’s legal conclusion. Reply at 18.
            get to the deal terms that West wanted. Id.

            Under the terms of the deal, Methodist paid $3.5 million in cash GO No. 9: This paragraph contains at least four
            as a capital contribution, and a $3.5 million loan. Methodist was purported facts. Reply at 18.
            aware that $3.5 million in cash would be used by ACORN to pay
            back debt owed to Dr. Schwartzberg personally and to West as a
            company. Compl. ¶¶ 187-188; Answer ¶ 187-188; Sweet Decl.
            Ex. 15 (ACORN Closing Statement). There was no legitimate
            business reason for Methodist to invest in ACORN, and the work
            that ACORN was supposedly doing was not in furtherance of the
            goals of non-profit institutions or creating an NCI-designated
            cancer center, as Dr. Stern participated on the ACORN Board, has
            attested. Stern. Decl., ¶¶ 94-111. The ACORN investment
            (which later became known as Vector) was simply another means
            of paying West a kickback to get to the deal terms that West
            wanted. Id.

CSOF ¶ 21   Under the LEA, Methodist paid West over $100 million during            GO No. 7: This fact is plainly undisputed. Reply
            the course of the deal. Compl. ¶ 128; Answer ¶ 128.                    at 18.


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CSOF Cite   Objectionable Language 1                                           Objection(s)

CSOF ¶ 22   Under the PSA, from 2012 through 2018, Methodist paid West         GO No. 7: This fact is plainly undisputed. Reply
            over $280 million. Compl. ¶ 137; Answer ¶ 137.                     at 18.

CSOF ¶ 23   During the duration of the MSA from 2012 to 2018, Methodist GO No. 1: This assertion is not supported by the
            paid West over $27 million, approximately $13 million of which evidence cited. Reply at 19.
            was for Base Management Fees. Compl. ¶ 156; Answer ¶ 156.

            During the duration of the MSA from 2012 to 2018, Methodist GO No. 7: This fact is plainly undisputed. Reply
            paid West over $27 million, approximately $13 million of which at 19.
            was for Base Management Fees. Compl. ¶ 156; Answer ¶ 156.

CSOF ¶ 24   Under the APA, from 2012 through 2018, Methodist paid West GO No. 7: This fact is plainly undisputed. Reply
            $10,537,397.49. Compl. ¶ 124; Answer ¶ 124.                at 19.

CSOF ¶ 25   As Methodist has admitted, the payments under the LEA, PSA, GO No. 2: This is not a fact, but rather the
            APA, and MSA constitute remuneration. Sweet Decl., Ex. 65 government’s legal conclusion. Reply at 19.
            (Methodist’s CID Responses) at No. 4.

CSOF ¶ 26   The parties had little concern for the specifics of the deal GO No. 1: This assertion is not supported by any
            documents that ultimately were entered into for the Methodist- record evidence. Reply at 20.
            West affiliation, and the documents contain inconsistent and
            overlapping terms. . . .                                       GO No. 2: This is not a fact, but rather the
                                                                           government’s improper characterization and
                                                                           testimony without personal knowledge. Id.

            The parties had little concern for the specifics of the deal       GO No. 1: This assertion is not supported by the
            documents that ultimately were entered into for the Methodist-     evidence cited. Reply at 20.
            West affiliation, and the documents contain inconsistent and
            overlapping terms. For example, Methodist leased West’s NPPAs      GO No. 2: This paragraph contains extensive
            under the LEA, but West could also be reimbursed for the NPPAs     testimony from the government without personal
            under the PSA. Methodist confirmed that it did pay West for the    knowledge. Id.
            NPPAs, which is reflected in the payroll records produced, Sweet

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EVIDENTIARY OBJECTIONS TO THE UNITED STATES’ COUNTER-STATEMENT OF MATERIAL FACTS (“CSOF”)


CSOF Cite   Objectionable Language 1                                             Objection(s)

            Decl., Ex. 27 (2012 payroll records). And the United States’         GO No. 3: The government cites to an expert
            expert opined that there is evidence that Methodist also paid West   report (i) for an assertion that constitutes opinion
            under the PSA for professional services attributable to the NPPAs.   and not fact and (ii) for an assertion that is not
            Methodist never took any steps to confirm that the wRVUs were        made based on personal knowledge. Id.
            not attributable to work personally performed by the NPPAs. This
            resulted in a double-payment of millions of dollars to West from     GO No. 6: This assertion is not material to the
            2012 through 2017. ECF No. 328-1.                                    motion for summary judgment. Id.

                                                                                 GO No. 8: The government cites generally to a
                                                                                 document without any pincite or other guidance
                                                                                 as to which portion of the lengthy document it is
                                                                                 citing. Id.

                                                                                 GO No. 9: This paragraph contains at least six
                                                                                 purported facts. Id.

CSOF ¶ 27   In another example, the hospitalists fall under the PSA but also GO No. 1: This assertion is not supported by any
            were employed by Methodist. ECF No. 323-11 & 323-13; Sweet record evidence. Reply at 20–21.
            Decl., Ex. 27. . . .
                                                                             GO No. 6: This assertion is not material to the
                                                                             motion for summary judgment. Id.

                                                                                 GO No. 8: The government cites generally to
                                                                                 documents without any pincite or other guidance
                                                                                 as to which documents or portions of lengthy
                                                                                 documents it is citing. Id.

            . . . . The United States did not attempt to calculate any double- GO No. 1: This assertion is not supported by any
            payment as a result of this duplication, as there already is ample record evidence. Reply at 21.
            evidence of remuneration.
                                                                               GO No. 2: This is not a fact, but rather the
                                                                               government’s legal conclusion. Id.

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CSOF Cite   Objectionable Language 1                                             Objection(s)

CSOF ¶ 29   Pursuant to the APA, Methodist paid West $10,537,397.49. GO No. 7: This fact is plainly undisputed. Reply
            Compl. ¶ 124; Answer ¶ 124. . . .                        at 21.

            . . . . Methodist has admitted that the payments under the APA GO No. 2: This is not a fact, but rather the
            constitute remuneration. Sweet Decl., Ex. 65 (Methodist’s CID government’s legal conclusion. Reply at 22.
            Responses) at No. 4.

CSOF ¶ 30   Two million dollars of the amount paid under the APA was for GO No. 7: This fact is plainly undisputed. Reply
            “Meaningful Use” payments that West expected to receive in the at 22.
            future. . . .

            . . . . Yet, this was ultimately a loan that was only fully repaid after GO No. 1: This assertion is not supported by the
            the affiliation ended and the litigation was known. ECF No. at evidence cited. Reply at 22.
            323-8 at 21; ECF No. 324-1 at 7.
                                                                                     GO No. 2: This is not a fact, but rather the
                                                                                     government’s misleading characterization of
                                                                                     materials in the record. Id.

                                                                                 GO No. 6: This assertion is not material to the
                                                                                 motion for summary judgment. Id.

CSOF ¶ 31   Although Methodist supposedly purchased all of the assets at 100 GO No. 1: This assertion is not supported by the
            N. Humphreys, ECF No. 323-13, and assumed the payments for evidence cited. Reply at 23.
            the entirety of that location, Sweet Decl., Ex. 23, West continued
            to operate a pharmacy there for which it did not pay any rent to
            Methodist or remit any profits for at least one year. . . . Sweet
            Decl., Exs. 51 & 70; Ex. G (McLean Dep. Vol. I) 76:13-78:11).

            . . . .On December 31, 2012, West sold that pharmacy - which Mr. GO No. 6: This assertion is not material to the
            McLean called a “closet” - for $4.9 million to AnovoRx, who motion for summary judgment. Reply at 23.



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CSOF Cite   Objectionable Language 1                                             Objection(s)

            Methodist engaged to provide management services for the
            pharmacy. . . .

            Although Methodist supposedly purchased all of the assets at 100     GO No. 8: The government cites generally to
            N. Humphreys, ECF No. 323-13, and assumed the payments for           documents without any pincite or other guidance
            the entirety of that location, Sweet Decl., Ex. 23, West continued   as to which documents or portions of lengthy
            to operate a pharmacy there for which it did not pay any rent to     documents it is citing. Reply at 23.
            Methodist or remit any profits for at least one year. On December
            31, 2012, West sold that pharmacy - which Mr. McLean called a
            “closet” - for $4.9 million to AnovoRx, who Methodist engaged
            to provide management services for the pharmacy. Sweet Decl.,
            Exs. 51 & 70; Ex. G (McLean Dep. Vol. I) 76:13-78:11).

CSOF ¶ 32   As noted above, West never entered into any lease with Methodist GO No. 1: This assertion is not supported by any
            for office space at the 100 N. Humphreys location it sold to record evidence. Reply at 23.
            Methodist under the APA, yet it continued to operate out of that
            location for years. . . .

            . . . .The United States’ expert has opined that this was not GO No. 1: This assertion is not supported by
            commercially reasonable. ECF No. 324-1.                       competent evidence or the evidence cited. Reply
                                                                          at 23–24.

                                                                                 GO No. 3: The government cites to a portion of
                                                                                 an expert report (i) for an assertion that constitutes
                                                                                 opinion and not fact; (ii) for an assertion that is not
                                                                                 made based on personal knowledge; and (iii) that
                                                                                 constitutes inadmissible expert testimony under
                                                                                 Rule 702. Id.

                                                                                 GO No. 8: The government cites generally to a
                                                                                 document without any pincite or other guidance


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CSOF Cite   Objectionable Language 1                                            Objection(s)

                                                                                as to which portions of the lengthy document it is
                                                                                citing. Id.

CSOF ¶ 33   As noted above, when West moved its principal place of business     GO No. 1: This assertion is not supported by any
            to 7945 Wolf River Blvd in Germantown, which Methodist              record evidence. Reply at 24.
            owned, Methodist never required West to pay any rent and never
            entered into a lease or even determined the fair market value for   GO No. 2: This is not a fact, but rather the
            this location during the relevant time period. In connection with   government’s improper characterization of an
            the conclusion of Methodist’s contractual relationship with West,   email that speaks for itself. Id.
            Methodist eventually determined the building was valued at $70
            million, but still never made any attempt to quantify how much      GO No. 6: This assertion is not material to the
            West should have been paying for the use of this space as its       motion for summary judgment. Id.
            principal place of business. Sweet Decl., Ex. 74 (McLean Email
            to Ugwuke re: $70 Million as of 12/19/18).

CSOF ¶ 34   Of course, West had been expanding its business and adding new GO No. 1: This assertion is not supported by the
            locations throughout the parties’ affiliation, as reflected in its evidence cited. Reply at 24–25.
            Annual Reports. Sweet Decl, Exs. 4, 36 & 38.
                                                                               GO No. 2: This is not a fact, but rather the
                                                                               government’s improper characterization of annual
                                                                               reports that speak for themselves. Id.

                                                                                GO No. 6: This assertion is not material to the
                                                                                motion for summary judgment. Id.

CSOF ¶ 35   None of the Affiliation Agreements were ever amended to include     GO No. 2: This is not a fact, but rather the
            the 7945 Wolf River Boulevard location. Sweet Decl. Ex. 63          government’s improper characterization of what
            (Bass Ltr. to Foley of 10/17/18) (“7945 Wolf River Boulevard is     is required with respect to amending agreements.
            not defined as a ‘Cancer Center Site’ in the Unwind Agreement”);    Reply at 25.
            Ex. 64 (Foley Ltr. to Bass of 10/19/18).



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CSOF Cite   Objectionable Language 1                                          Objection(s)

                                                                              GO No. 6: This assertion is not material to the
                                                                              motion for summary judgment. Id.

CSOF ¶ 36   When Methodist and West ended their relationship, Methodist GO No. 6: This assertion is not material to the
            took a position that West could not purchase the Wolf River motion for summary judgment. Reply at 25.
            location from Methodist under the Unwind Agreement. Sweet
            Decl. Ex. 63 (Bass Ltr. to Foley of 10/17/18) (“7945 Wolf River
            Boulevard is not defined as a ‘Cancer Center Site’ in the Unwind
            Agreement”); Ex. 64 (Foley Ltr. to Bass of 10/19/18).

CSOF ¶ 37   From the outset, Methodist had knowledge that it needed to enter GO No. 1: This assertion is not supported by the
            into agreements concerning dual use assets to avoid regulatory evidence cited. Reply at 26.
            issues. ECF Nos. 323-13 and 323-14.
                                                                             GO No. 2: This is not a fact, but rather the
                                                                             government’s improper characterization of
                                                                             agreements that speak for themselves, as well as
                                                                             testimony without personal knowledge and an
                                                                             improper legal conclusion. Id.

                                                                              GO No. 8: The government cites generally to
                                                                              documents without any pincite or other guidance
                                                                              as to which documents or portions of lengthy
                                                                              documents it is citing. Id.

CSOF ¶ 38   Methodist knew it could not pay West kickbacks in exchange for GO No. 7: This fact is plainly undisputed. Reply
            referrals. Ex. G (McLean Dep. Vol. I) 45:2-12.]                at 26.

CSOF ¶ 39   In 2015, Methodist’s internal counsel acknowledged that it was    GO No. 2: This is not a fact, but rather the
            not proper to have employees leased to Methodist doing work for   government’s legal conclusion and improper
            West without an agreement. Sweet Decl., Ex. 69 (Field email to    characterization of an email that speaks for itself.
            McLean and Mounce of 03/30/15). . . .                             Reply at 26.


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CSOF Cite   Objectionable Language 1                                            Objection(s)

CSOF ¶ 40   Methodist knew that the draft FMV opinion it obtained from HAI      GO No. 1: This assertion is not supported by the
            was based on incorrect assumptions, including that it was           evidence cited. Reply at 27–28.
            contrary to the terms of the LEA in that Erich Mounce would be
            paid as a leased employee and was not being paid by West as an      GO No. 2: This is not a fact, but rather the
            expense of the base management fee, that West would not be          government’s improper characterization of an
            providing management services at all the locations in the MSA,      assessment that speaks for itself. Id.
            and that West was essentially being paid to manage its own
            patients. . . . Ex. D (Schwartzberg Dep.) at 78:6-11; 87:3-10;
            104:3-22; Ex. G (McLean Dep. Vol. I) at 248:2-10, 249:1-14; Ex.
            A (Ugwueke Dep.) at 167:21-168:14; ECF No. 328-1 at 31-35;
            ECF No. 323-34.

            Methodist knew that the draft FMV opinion it obtained from HAI GO No. 1: This assertion is not supported by any
            was based on incorrect assumptions, including . . . that West was record evidence. Reply at 27.
            essentially     being    paid    to     manage        its    own
            patients. . . .                                                   GO No. 2: This is not a fact, but rather the
                                                                              government’s unsupported testimony made
                                                                              without any personal knowledge. Id.

            Methodist knew that the draft FMV opinion it obtained from HAI GO No. 3: The government cites to a portion of
            was based on incorrect assumptions . . . ECF No. 328-1 at 31-35; an expert report (i) for an assertion that constitutes
            ECF No. 323-34.                                                  opinion and not fact and (ii) for an assertion that
                                                                             is not made based on personal knowledge. Reply
                                                                             at 28.

                                                                                GO No. 8: The government cites generally to a
                                                                                document without any pincite or other guidance
                                                                                as to which portions of a lengthy document it is
                                                                                citing. Id.




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CSOF Cite   Objectionable Language 1                                           Objection(s)

CSOF ¶ 41   . . . . The arrangement between Mr. McLean and Mr. Mounce in GO No. 2: This is not a fact, but rather the
            deciding to do something outside of the agreements was never government’s unsupported characterization of
            vetted by a third party and is not based on any sound materials in the record. Reply at 28–29.
            methodology. ECF No. 324-1.
                                                                         GO No. 6: This assertion is not material to the
                                                                         motion for summary judgment. Id.

            Although the Deal Agreements required Methodist to enter into a    GO No. 1: This assertion is not supported by
            lease with West for its dual use employees at fair market value,   competent record evidence. Reply at 28–29.
            this never occurred. The arrangement between Mr. McLean and
            Mr. Mounce in deciding to do something outside of the              GO No. 3: The government cites to a portion of
            agreements was never vetted by a third party and is not based on   an expert report (i) for an assertion that constitutes
            any sound methodology. ECF No. 324-1.                              opinion and not fact; (ii) for an assertion that is not
                                                                               made based on personal knowledge; and (iii) that
                                                                               constitutes inadmissible expert testimony under
                                                                               Rule 702. Id.

                                                                               GO No. 8: The government cites generally to a
                                                                               document without any pincite or other guidance
                                                                               as to which portions of a lengthy document it is
                                                                               citing. Id.

CSOF ¶ 42   From the outset, Methodist was aware that Mounce would             GO No. 1: This assertion is not supported by
            continue to perform significant duties for West. The parties       competent record evidence. Reply at 29.
            advised the public that Mounce would “maintain his position
            with The West Clinic and take responsibility for Methodist’s
            cancer service line, reporting directly to Gary Shorb.” Sweet
            Decl. Ex. 2.

            . . . . The parties advised the public that Mounce would “maintain GO No. 6: These assertions are not material to
            his position with The West Clinic and take responsibility for the motion for summary judgment. Reply at 29.


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CSOF Cite   Objectionable Language 1                                         Objection(s)

            Methodist’s cancer service line, reporting directly to Gary
            Shorb.” Sweet Decl. Ex. 2.

CSOF ¶ 43   Under the MSA, the Operating Committee was tasked with GO No. 1: This assertion is not supported by any
            oversight for the work that West was paid to do. . . . record evidence. Reply at 30.

                                                                             GO No. 2: This is not a fact, but rather the
                                                                             government’s characterization or purported
                                                                             testimony made without personal knowledge. Id.

            CSOF ¶ 43: . . . .Yet it consisted of a majority of members that GO No. 1: This assertion is not supported by any
            were West physicians (initially Drs. Schwartzberg, Tauer, Richey record evidence. Reply at 30.
            and Somer), who had oversight for themselves. . . .
                                                                             GO No. 2: This is not a fact, but rather the
                                                                             government’s unsupported characterization. Id.

            CSOF ¶ 43: . . . .There were no Methodist physicians or clinical GO No. 6: This assertion is not material to the
            personnel on the Operating Committee, which initially included motion for summary judgment. Reply at 30.
            Methodist’s CEO Gary Shorb and CFO Chris McLean, who
            negotiated the deal with West, and Vice President Donna Abney.
            ...

            CSOF ¶ 43: . . . .West’s CEO Erich Mounce, who was leased to     GO No. 1: This assertion is not supported by the
            Methodist full time, and another West employee leased to         evidence cited. Reply at 30.
            Methodist full-time, Cheryl Prince, were the staff tasked with
            management. . . . Sweet Decl., Ex. 41 (Operations Committee      GO No. 2: This is not a fact, but rather the
            Meeting Minutes 1/12/12).                                        government’s improper characterization of
                                                                             meeting minutes that speak for themselves. Id.




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CSOF Cite   Objectionable Language 1                                            Objection(s)

CSOF ¶ 43   CSOF ¶ 43: . . . .Ms. Prince had principal responsibility for the GO No. 1: This assertion is not supported by the
            performance criteria, which was her only job. Sweet Decl., Ex. evidence cited. Reply at 30–31.
            41 (Operations Committee Meeting Minutes 1/12/12).
                                                                              GO No. 2: This is not a fact, but rather the
                                                                              government’s improper characterization of
                                                                              meeting minutes that speak for themselves. Id.

            CSOF ¶ 43: Under the MSA, the Operating Committee was               GO No. 6: This assertion is not material to the
            tasked with oversight for the work that West was paid to do. Yet    motion for summary judgment. Reply at 31.
            it consisted of a majority of members that were West physicians
            (initially Drs. Schwartzberg, Tauer, Richey and Somer), who had     GO No. 9: This paragraph contains at least five
            oversight for themselves. There were no Methodist physicians or     purported facts. Id.
            clinical personnel on the Operating Committee, which initially
            included Methodist’s CEO Gary Shorb and CFO Chris McLean,
            who negotiated the deal with West, and Vice President Donna
            Abney. West’s CEO Erich Mounce, who was leased to Methodist
            full time, and another West employee leased to Methodist full-
            time, Cheryl Prince, were the staff tasked with management. Ms.
            Prince had principal responsibility for the performance criteria,
            which was her only job. Sweet Decl., Ex. 41 (Operations
            Committee Meeting Minutes 1/12/12).

CSOF ¶ 44   Despite the fact that Mr. Mounce and Ms. Prince were performing     GO No. 1: This assertion is not supported by
            much of the duties under the MSA on behalf of West and their        competent record evidence. Reply at 31.
            salaries were paid by Methodist, Methodist never bothered to
            enter into any agreement to consider how much of their salaries     GO No. 2: This is not a fact, but rather the
            should be reimbursed. . . . ECF No. 324-1.                          government’s characterization and testimony of
                                                                                counsel. Id.

                                                                                GO No. 3: The government cites to a portion of
                                                                                an expert report (i) for an assertion that constitutes
                                                                                opinion and not fact; (ii) for an assertion that is not

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CSOF Cite   Objectionable Language 1                                         Objection(s)

                                                                             made based on personal knowledge; and (iii) that
                                                                             constitutes inadmissible expert testimony under
                                                                             Rule 702. Id.

                                                                             GO No. 8: The government cites generally to an
                                                                             expert report without any pincite or other
                                                                             guidance as to which portions of a lengthy
                                                                             document it is citing. Id.

            . . . .Rather, Mr. McLean and Mr. Mounce agreed to the cost GO No. 1: This assertion is not supported by
            allocation “bucket approach” Mr. McLean came up with. ECF competent record evidence. Reply at 31–32.
            No. 324-1.
                                                                        GO No. 3: The government cites to a portion of
                                                                        an expert report (i) for an assertion that constitutes
                                                                        opinion and not fact and (ii) for an assertion that
                                                                        is not made based on personal knowledge. Id.

                                                                             GO No. 6: The use of a “bucket approach” is not
                                                                             material to the motion for summary judgment. Id.

                                                                             GO No. 8: The government cites generally to an
                                                                             expert report without any pincite or other
                                                                             guidance as to which portions of a lengthy
                                                                             document it is citing. Id.

CSOF ¶ 45   The two West physicians that were the only Medical Directors GO No. 1: This assertion is not supported by the
            appointed under the MSA had no idea that they had duties with evidence cited. Reply at 32.
            respect to Methodist. . . . Sweet Decl., Ex. 42 (Methodist and West
            Meeting Minutes of 02/12/2012).                                     GO No. 2: This is not a fact, but rather the
                                                                                government’s improper characterization of
                                                                                meeting minutes that speak for themselves and


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CSOF Cite   Objectionable Language 1                                          Objection(s)

CSOF ¶ 45                                                                     testimony of counsel lacking personal knowledge.
                                                                              Id.

            . . . . Dr. Schwartzberg was not even present at the second meeting GO No. 6: This assertion is not material to the
            of the Operating Committee or Operations Committee, and motion for summary judgment. Reply at 33.
            neither was Mr. McLean. . . .

            . . . . The lack of importance of the Base Management duties under GO No. 1: This assertion is not supported by the
            the MSA is demonstrated in that it is not a focus of discussion evidence cited. Reply at 33.
            beyond payment. . . . Sweet Decl., Ex. 42 (Methodist and West
            Meeting Minutes of 02/12/2012).                                    GO No. 2: This is not a fact, but rather the
                                                                               government’s improper characterization of
                                                                               meeting minutes that speak for themselves and
                                                                               testimony of counsel lacking personal knowledge.
                                                                               Id.

            . . . . Instead, the main focus of the Operating Committee was GO No. 1: This assertion is not supported by the
            listed under “Old Business” as an update on 340B. . . . Sweet evidence cited. Reply at 33.
            Decl., Ex. 42 (Methodist and West Meeting Minutes of
            02/12/2012).                                                   GO No. 2: This is not a fact, but rather the
                                                                           government’s characterization of meeting
                                                                           minutes that speak for themselves and testimony
                                                                           of counsel lacking personal knowledge. Id.

            . . . . The second item was identifying Dr. Schwartzberg and Dr. GO No. 7: This fact is plainly undisputed. Reply
            Tauer as Medical Directors under the MSA. . . .                  at 33.

            The two West physicians that were the only Medical Directors GO No. 9: This paragraph contains at least five
            appointed under the MSA had no idea that they had duties with purported facts. Reply at 32.
            respect to Methodist. Dr. Schwartzberg was not even present at
            the second meeting of the Operating Committee or Operations
            Committee, and neither was Mr. McLean. The lack of importance

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CSOF Cite   Objectionable Language 1                                              Objection(s)

            of the Base Management duties under the MSA is demonstrated
            in that it is not a focus of discussion beyond payment. Instead,
            the main focus of the Operating Committee was listed under “Old
            Business” as an update on 340B. The second item was identifying
            Dr. Schwartzberg and Dr. Tauer as Medical Directors under the
            MSA. Sweet Decl., Ex. 42 (Methodist and West Meeting Minutes
            of 02/12/2012).

CSOF ¶ 46   The service line management proposal was supposed to have been GO No. 6: This assertion is not material to the
            attached as Exhibit A, but no such document was appended to the motion for summary judgment. Reply at 33.
            minutes. Sweet Decl, Ex. 42 (Methodist and West Meeting
            Minutes 02/09/12). . . .

            . . . .Since West previously had not been providing any inpatient GO No. 1: This assertion is not supported by any
            management services at any of the locations in the MSA, there record evidence. Reply at 33.
            should have been significant work done to develop a proposal.
            None exists.                                                      GO No. 2: This is not a fact, but rather the
                                                                              government’s improper characterization of
                                                                              meeting minutes that speak for themselves and
                                                                              unsupported testimony of counsel lacking
                                                                              personal knowledge. Id.

CSOF ¶ 47   During the last two years of the MSA, the Operating Committee GO No. 6: This assertion is not material to the
            met only twice. . . .                                         motion for summary judgment. Reply at 34.

            . . . .It had morphed into multiple names and was not clear that it   GO No. 2: This is not a fact, but rather
            had anything to do with confirming that West physicians, as           unsupported testimony and characterization of
            opposed to leased employees, were doing the Base Management           counsel lacking personal knowledge. Reply at 35.
            duties under the MSA for which it received 60% of the total
            compensation Methodist agreed to each year. . . .                     GO No. 6: This assertion is not material to the
                                                                                  motion for summary judgment. Id.


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CSOF Cite   Objectionable Language 1                                             Objection(s)

            . . . . It had morphed into multiple names and was not clear that    GO No. 1: These assertions are not supported by
            it had anything to do with confirming that West physicians, as       the evidence cited. Reply at 34–35.
            opposed to leased employees, were doing the Base Management
            duties under the MSA for which it received 60% of the total          GO No. 2: This paragraph is flooded with
            compensation Methodist agreed to each year. As discussed supra,      improper,      unsupported  testimony    and
            Methodist has not submitted any admissible evidence to show          characterization of counsel lacking personal
            what work West did and who precisely did the work to justify the     knowledge. Id.
            millions of dollars in base management fees for the entire seven
            years. The self-serving declarations are not sufficient, and it is   GO No. 8: The government cites generally to
            belied by the fact that Mr. Mounce and Ms. Prince seem to have       meeting minutes and other materials without any
            done most of the work, along with other leased employees,            pincite or other guidance as to which documents
            including Melissa Speer. See, e.g., Sweet Decl. Exs. 35, 41-50,      or portions of lengthy documents it is citing. Id.
            67 (various meeting minutes) & ECF Nos. 323-44 to 323-46;
            Sweet Ex. 27 (2012 Payroll records); ECF No. 323-14. It is also      GO No. 9: This paragraph contains at least six
            entirely unclear that West physicians provided management            purported facts. Id. at 35.
            services at all of the locations in the MSA, including University.
            No documentation was kept of what they had done, and the
            physicians had little role in University, as Mr. Liebman has
            attested. Liebman Decl. ¶¶ 57-63

CSOF ¶ 48   Methodist paid West the entire base management fee under the GO No. 7: This fact is plainly undisputed. Reply
            MSA from 2012 through 2018. ECF No. 323-49 at 204:2-5 (“And at 35.
            did Methodist pay the entire base fee to West through -- from
            2012 through 2018? Yes.”).

CSOF ¶ 49   After the initial incentives were set to obtain a purported fair GO No. 1: This assertion is not supported by the
            market value opinion for the MSA, Methodist and West paid evidence cited. Reply at 35.
            minimal attention. . . . Sweet Decl., Ex. 67.
                                                                             GO No. 2: This is not a fact, but rather the
                                                                             government’s improper characterization of
                                                                             meeting minutes that speak for themselves and


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CSOF Cite   Objectionable Language 1                                                Objection(s)

                                                                                    testimony of counsel lacking personal knowledge.
                                                                                    Id.

            . . . . In fact, the incentives for 2013 were not approved until year   GO No. 1: This assertion is not supported by any
            end. For example, at the December 4, 2013 meeting of the                record evidence. Reply at 35.
            “Operations Committee,” the 2013 incentives under the MSA
            were approved, and the criteria for the 2014 incentives were            GO No. 6: This assertion is not material to the
            approved without any specific deadlines or detailed and                 motion for summary judgment. Id..
            measurable milestones. Sweet Decl., Ex. 67.

            For example, at the December 4, 2013 meeting of the “Operations         GO No. 2: This is not a fact, but rather the
            Committee,” the 2013 incentives under the MSA were approved,            government’s improper characterization of
            and the criteria for the 2014 incentives were approved without          meeting minutes that speak for themselves and
            any specific deadlines or detailed and measurable milestones.           testimony of counsel lacking personal knowledge.
            Sweet Decl., Ex. 67.                                                    Reply at 36.

CSOF ¶ 50   As West could not automatically earn the incentives, the parties        GO No. 1: This assertion is not supported by the
            set attainable goals and that would not even be determined until        evidence cited. Reply at 36.
            mid to year end, with West setting and approving the goals and
            the payments of these incentives. . . . See, e.g., Sweet Decl. Exs.     GO No. 2: This is not a fact, but rather the
            35, 41-50, 67 (various meeting minutes) & ECF Nos. 323-44 to            government’s characterization of meeting
            323-46.                                                                 minutes and other documents that speak for
                                                                                    themselves and testimony of counsel lacking
                                                                                    personal knowledge. Id.

            . . . . The parties agreed to the performance incentive components GO No. 6: This assertion is not material to the
            from 2014-2018 with no outside input or vetting or involvement motion for summary judgment. Reply at 36.
            of any Methodist clinical personnel. See, e.g., Sweet Decl. Exs.
            35, 41-50, 67 (various meeting minutes) & ECF Nos. 323-44 to
            323-46.



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CSOF Cite   Objectionable Language 1                                           Objection(s)

            . . . . See, e.g., Sweet Decl. Exs. 35, 41-50, 67 (various meeting GO No. 8: The government cites generally to
            minutes) & ECF Nos. 323-44 to 323-46.                              documents without any pincite or other guidance
                                                                               as to which documents or portions of lengthy
                                                                               documents it is citing. Reply at 36.

CSOF ¶ 51   Methodist’s current CFO acknowledged that West presented GO No. 1: This assertion is not supported by the
            metrics to the Cancer Council that the Council then “agreed evidence cited. Reply at 37.
            upon” when approving West’s own incentive payments from
            Methodist. Lane Dep. 136:14-137:24. In other words, West
            supplied the metrics used to determine its bonus from Methodist
            under the MSA. Id.

            . . . . In other words, West supplied the metrics used to determine GO No. 2: This is not a fact, but rather the
            its bonus from Methodist under the MSA. Id.                         government’s     improper      and     misleading
                                                                                characterization of witness testimony and
                                                                                testimony of counsel lacking personal knowledge.
                                                                                Reply at 37.

CSOF ¶ 52   These milestones included publishing “annual reports” that were    GO No. 1: This assertion is not supported by the
            part of the base management duties under the MSA. Yet, no          evidence cited. Reply at 38.
            annual report was produced for 2012 or 2013. And all of the
            annual reports produced relate to the work of West – not limited   GO No. 2: These are not facts, but rather the
            to Methodist locations – and are marketing documents that a jury   government’s characterization of annual reports
            can conclude have nothing to do with the MSA requirements.         and invoices that speak for themselves and
            Sweet Decl., Exs. 4, 36, 38; 71-73.                                testimony of counsel lacking personal knowledge.
                                                                               Id.

            . . . . And all of the annual reports produced relate to the work of GO No. 6: This assertion is not material to the
            West – not limited to Methodist locations – and are marketing motion for summary judgment. Reply at 38.
            documents that a jury can conclude have nothing to do with the
            MSA requirements. Sweet Decl., Exs. 4, 36, 38; 71-73.


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CSOF Cite   Objectionable Language 1                                          Objection(s)




CSOF ¶ 53   In October 2015, Methodist agreed to pay West an incentive GO No. 1: This assertion is not supported by the
            payment of $52,650.00 to publish the 2014 Annual Report. Sweet evidence cited. Reply at 38.
            Decl., Ex. 71 (West Management Incentive Payment October
            2015).                                                         GO No. 6: This assertion is not material to the
                                                                           motion for summary judgment. Id.

CSOF ¶ 54   One of the 2016 incentives set and approved in July 2017 for      GO No. 1: This assertion is not supported by the
            which Methodist agreed to pay West related to publishing the      evidence cited. Reply at 39.
            2016 Annual Report, which is Exhibit 36 to the Sweet
            Declaration. Sweet Decl., Ex. 72 (2017 West Management            GO No. 6: This assertion is not material to the
            Incentive.)                                                       motion for summary judgment. Id.

CSOF ¶ 55   West’s 2018 Annual Report, which necessarily covers the time GO No. 6: This assertion is not material to the
            period during the MSA but was published in 2019 after the motion for summary judgment. Reply at 39.
            relationship with Methodist was terminated, fails to mention
            Methodist in any way. Sweet Decl., Ex. 4 (2018 Annual Report).

CSOF ¶ 56   One of the 2015 incentive items for which Methodist paid West GO No. 7: This fact is plainly undisputed. Reply
            $11,250.00 was to complete the “integration of West MLH at 40.
            Culture - Center wide unfreeze.” This was approved at the April
            1, 2015 PSA Operating Committee meeting. Sweet Decl., Ex. 73
            (April 2015 West Management Incentive Payment.)

CSOF ¶ 57   These payments may be cloaked under the MSA, but it is far from   GO No. 1: This assertion is not supported by the
            clear that the payments were not simply kickbacks as opposed to   evidence cited. Reply at 40.
            for work done under that agreement. The focus of the Operating
            Committee - under whatever name was used – was to further the     GO No. 2: This is not a fact, but rather the
            work under the Expansion Plan that was attached to the PSA,       government’s misleading characterization of the

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CSOF Cite   Objectionable Language 1                                         Objection(s)

CSOF ¶ 57   which was supposed to be the document setting the agreement to PSA, which speaks for itself, and unsupported
            compensate West for professional services. The Expansion Plan argument of counsel lacking personal knowledge.
            had nothing to do with the work West could be paid for under the Id.
            PSA. ECF No. 323-11.
                                                                             GO No. 8: The government cites generally to the
                                                                             PSA without any pincite or other guidance as to
                                                                             which portions of the lengthy document it is
                                                                             citing. Id.

            The focus of the Operating Committee - under whatever name GO No. 6: This assertion is not material to the
            was used – was to further the work under the Expansion Plan that motion for summary judgment. Reply at 41.
            was attached to the PSA, which was supposed to be the document
            setting the agreement to compensate West for professional
            services. . . .

CSOF ¶ 58   When Methodist enrolled to submit claims electronically to       GO No. 7: This fact is plainly undisputed. Reply
            Medicare, it certified that “it will submit claims that are      at 40.
            accurate, complete and truthful.” Sweet Decl., Ex. 78 (EDI
            Agreement) at 8.

CSOF ¶ 59   The Medicare cost reports that Methodist signed and submitted to GO No. 1: This assertion is not supported by the
            Medicare for each applicable year contained the following evidence cited. Reply at 41.
            certification: Sweet Decl., Ex. 79 (Methodist’s Cost Reports). . .
            .

            The above Medicare cost report was signed by Methodist’s then GO No. 7: This fact is plainly undisputed. Reply
            CFO McLean. . . .                                             at 41.

            . . . . Methodist knew and expected to obtain referrals from West GO No. 1: This assertion is not supported by any
            as part of the deal.                                              record evidence. Reply at 41.



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CSOF Cite   Objectionable Language 1                                            Objection(s)

                                                                                GO No. 2: This is not a fact, but rather the
                                                                                unsupported testimony of counsel with no
                                                                                personal knowledge. Id.

CSOF ¶ 60   Methodist’s former CEO Shorb acknowledged that Methodist GO No. 1: This assertion is not supported by the
            “would see more patients” through its alliance with West. Ex. I evidence cited. Reply at 42.
            (Shorb Dep.) at 71:7-14.
                                                                            GO No. 2: This is not a fact, but rather the
                                                                            government’s misleading characterization of
                                                                            deposition testimony. Id.

CSOF ¶ 61   West began tracking the referrals immediately with a focus on the   GO No. 1: This assertion is not supported by the
            daily census for West physicians attending to patients at           evidence cited. Reply at 42.
            Methodist locations. Sweet Decl., Ex. 68 (Mounce Email to T
            Myers re West Methodist Hospital Census as of 02.21.2012;           GO No. 4: The assertion is based on inadmissible
            Liebman Decl., ¶¶ 12-14, 20.                                        hearsay in the form of an email. Id.

CSOF ¶ 62   West expected to be paid for its referrals and the benefit          GO No. 1: This assertion is not supported by the
            Methodist saw through the 340B Program, and Methodist agreed        evidence cited. Reply at 43.
            to do so, paying West far above what similar physicians in the
            area were paid. Stern Decl. ¶¶ 34-36 & Ex. 11; Liebman Decl.,       GO No. 4: The assertion is based on inadmissible
            ¶¶ 67-70                                                            hearsay in the form of statements by Dr. Sandeep
                                                                                Samant. Id.

                                                                                GO No. 5: This statement contradicts Liebman’s
                                                                                and Stern’s sworn testimony. Id.

CSOF ¶ 63   In May 2012, West CEO and dual Methodist employee Mounce GO No. 2: This is not a fact, but rather the
            emailed tracking information to Methodist employees . . . Sweet government’s misleading characterization of an
            Decl., Ex. 80 (Mounce email to McLean Re Referrals Radiation email that speaks for itself. Reply at 44.
            Oncology as of 05.13.2013).


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CSOF Cite   Objectionable Language 1                                           Objection(s)

            In May 2012, Mounce emailed tracking information to Methodist GO No. 6: These assertions are not material to
            employees, including CFO McLean, on referrals to “other [non- the motion for summary judgment. Reply at 44.
            Methodist] centers.” He noted that “we are on target to have
            about 150 referrals pushed elsewhere. Mounce also noted that
            West did “901 referrals to rad[iation] onc[ology]. I am not sure
            all of these could move but let’s say 50-75% of them could.”
            Mounce emailed Methodist employees, including its CFO
            McLean, that he was “pushing our doc[tor]s on the Medicare
            patients.” Sweet Decl., Ex. 80 (Mounce email to McLean Re
            Referrals Radiation Oncology as of 05.13.2013)

CSOF ¶ 64   Methodist knew that . . . the referrals to Baptist were decreasing. GO No. 1: This assertion is not supported by the
            . . . Sweet Decl., Ex. 75 (McLean email to T Haynes re: Oncology evidence cited. Reply at 45.
            -Financial Statement as of 11/13/13); Ex. G (McLean Dep. Vol. I)
            at 1 42:21-44:17.). . .

            . . . . Methodist acknowledged that the inpatient referrals from GO No. 1: This assertion is not supported by the
            West doubled during the course of the affiliation. Sweet Decl., evidence cited. Reply at 45.
            Ex. 75 (McLean email to T Haynes re: Oncology -Financial
            Statement as of 11/13/13); Ex. G (McLean Dep. Vol. I) at 1 42:21-
            44:17.). . .

            . . . . Methodist’s internal documents show that the referrals that GO No. 6: This assertion is not material to the
            Methodist got from West were critical to Methodist’s margins, motion for summary judgment. Reply at 45.
            and there were many discussions of Methodist management about
            how West was critical to Methodist’s increased financial
            performance. . . .

            . . . West’s referrals of Medicare patients to Baptist decreased and GO No. 1: This assertion is not supported by the
            West referrals doubled. Id. ¶¶ 18, 20-22, 24., 26, 78 & Ex. 4. . . . evidence cited. Reply at 46.



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CSOF Cite   Objectionable Language 1                                          Objection(s)

CSOF ¶ 64   . . . . The increase in Methodist’s financial performance from 2011 GO No. 2: This is not a fact, but rather the
            through 2018 is reflected in its financial statements, which show government’s improper characterization of
            that revenues doubled. Sweet Decl., Ex. 7 . . .                     financial statements that speak for themselves.
                                                                                Reply at 46.

            Methodist knew that the West referrals were increasing and that GO No. 9: This paragraph contains at least seven
            the referrals to Baptist were decreasing.                Methodist purported facts. Reply at 45.
            acknowledged that the inpatient referrals from West doubled
            during the course of the affiliation. Sweet Decl., Ex. 75 (McLean
            email to T Haynes re: Oncology -Financial Statement as of
            11/13/13); Ex. G (McLean Dep. Vol. I) at 1 42:21-44:17.)
            Methodist’s internal documents show that the referrals that
            Methodist got from West were critical to Methodist’s margins,
            and there were many discussions of Methodist management about
            how West was critical to Methodist’s increased financial
            performance. Liebman Decl., ¶¶ 9, 17, 53 & Ex. 2. These
            outpatient and inpatient referrals were largely made up of
            Medicare patients, as West’s referrals of Medicare patients to
            Baptist decreased and West referrals doubled. Id. ¶¶ 18, 20-22,
            24., 26, 78 & Ex. 4. The increase in Methodist’s financial
            performance from 2011 through 2018 is reflected in its financial
            statements, which show that revenues doubled. Sweet Decl., Ex.
            7 (Methodist Healthcare Memphis Tax Filing and Audits)
            available      at       https://projects.propublica.org/nonprofits/
            organizations/620479367 (identifying $1,339,545,048 for fiscal
            year 2011 to $2,232,575,542 for fiscal year 2018).

CSOF ¶ 65   Methodist knew it could not pay West kickbacks in exchange for GO No. 7: This fact is plainly undisputed. Reply
            referrals. Ex. G (McLean Dep. Vol. I) at 45:2-12.              at 46.




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CSOF Cite   Objectionable Language 1                                            Objection(s)

CSOF ¶ 66   Under the PSA, Methodist was paying West at rates that were GO No. 1: This assertion is not supported by any
            high in the local market . . .                              record evidence. Reply at 464.

            Under the PSA, Methodist was paying West at rates that were         GO No. 3: The government cites to a portion of
            high in the local market, and that did not satisfy the ratio of     an expert report (i) for an assertion that constitutes
            compensation to collections, for which Methodist let Erich          opinion and not fact and (ii) for an assertion that
            Mounce sign off on. The opinion it obtained from ECG did not        is not made based on personal knowledge. Reply
            take into account that Methodist was paying West for the NPPAs      at 46.
            under the LEA, and then also under the PSA and at rates that were
            above fair market value. ECF No. 328-1.                             GO No. 8: The government cites generally to a
                                                                                document without any pincite or other guidance
                                                                                as to which portion of the lengthy document it is
                                                                                citing. Id.

            . . . . The opinion it obtained from ECG did not take into account GO No. 6: This assertion is not material to the
            that Methodist was paying West for the NPPAs under the LEA, motion for summary judgment. Reply at 47.
            and then also under the PSA and at rates that were above fair
            market value. . . .

CSOF ¶ 67   The amount that Methodist paid West under the PSA for 2012 and      GO No. 1: This assertion is not supported by
            2013 did not satisfy the central condition as to the ratio of       competent evidence. Reply at 47.
            professional collections to wRVU payments that ECG identified
            in its 2011 [draft] opinion. But Methodist did not obtain a new     GO No. 3: The government cites to an expert
            FMV opinion for the PSA in 2014. Methodist continued to pay         report (i) for an assertion that constitutes opinion
            West under the PSA for 2014 and 2015 at the same rates that ECG     and not fact; (ii) for an assertion that is not made
            identified      in      2011.          ECF        No.       328-    based on personal knowledge; and (iii) that
            1. . . .                                                            constitutes inadmissible expert testimony under
                                                                                Rule 702. Id. at 47–48.

                                                                                GO No. 8: The government cites generally to an
                                                                                expert report without any pincite or other


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CSOF Cite   Objectionable Language 1                                               Objection(s)

CSOF ¶ 67                                                                          guidance as to which portion of the lengthy
                                                                                   document it is citing. Id.

            . . . . But Methodist did not obtain a new FMV opinion for the GO No. 6: This assertion is not material to the
            PSA in 2014. Methodist continued to pay West under the PSA for motion for summary judgment. Reply at 48.
            2014 and 2015 at the same rates that ECG identified in 2011. ECF
            No. 328-1. . . .

            . . . . These rates were higher than the national 90th percentile and GO No. 1: This assertion is not supported by
            much higher than what other Memphis oncologists were being competent evidence. Reply at 48.
            paid. Stern Decl. ¶¶ 37-46.
                                                                                  GO No. 5: This statement contradicts the
                                                                                  declarant’s sworn testimony. Id.

            The amount that Methodist paid West under the PSA for 2012 and GO No. 9: This paragraph contains at least five
            2013 did not satisfy the central condition as to the ratio of purported facts. Reply at 47.
            professional collections to wRVU payments that ECG identified
            in its 2011 [draft] opinion. But Methodist did not obtain a new
            FMV opinion for the PSA in 2014. Methodist continued to pay
            West under the PSA for 2014 and 2015 at the same rates that ECG
            identified in 2011. ECF No. 328-1. These rates were higher than
            the national 90th percentile and much higher than what other
            Memphis oncologists were being paid. Stern Decl. ¶¶ 37-46.

CSOF ¶ 68   When the referrals from West to Methodist increased, West              GO No. 1: These assertions are not supported by
            wanted to be paid more. Since it was already paid an amount            any evidence in the record. Reply at 49.
            under the PSA at rates that did not satisfy the central condition in
            ECG’s fair market value opinion, the only other option was to          GO No. 2: These are not facts, but rather the
            increase the fees under the MSA. . . .                                 government’s misleading characterization and
                                                                                   unsupported argument of counsel lacking
                                                                                   personal knowledge. Id.


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CSOF Cite   Objectionable Language 1                                         Objection(s)

CSOF ¶ 68                                                                    GO No. 6: These assertions are not material to
                                                                             the motion for summary judgment. Id.

            . . . . Methodist and West opinion shopped . . .                 GO No. 1: This assertion is not supported by any
                                                                             evidence in the record. Reply at 49.

                                                                             GO No. 2: This is not a fact, but rather the
                                                                             government’s misleading characterization and
                                                                             unsupported argument of counsel lacking
                                                                             personal knowledge. Id.

            . . . . Methodist and West . . . used the highest range of FMV GO No. 1: This assertion is not supported by the
            provided. Sweet Decl., Ex. 34 (Ulery email to Mounce of evidence cited. Reply at 49.
            04/10/14); Ex. 35 (Operations Committee Meeting Minutes of
            06/04/14); ECF No. 323-27.                                     GO No. 6: This assertion is not material to the
                                                                           motion for summary judgment. Id.

            . . . . As discussed throughout, the 2014 FMV Opinion did not    GO No. 1: This assertion is not supported by any
            take into account that West was already engaged to perform the   evidence in the record. Reply at 50.
            services for two years and had failed to do many of the base
            management items at all of the locations in the agreement, and   GO No. 2: This is not a fact, but rather the
            that leased employees were doing much of the day-to-day work,    government’s misleading characterization and
            which was essentially managing West’s own patients. . . .        unsupported argument of counsel lacking
                                                                             personal knowledge. Id.

                                                                             GO No. 6: This assertion is not material to the
                                                                             motion for summary judgment. Id.

            . . . . The ratio of compensation to collections under the PSA for GO No. 6: This assertion is not material to the
            the 2012-2013 period was 1.45. . . .                               motion for summary judgment. Reply at 50.




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CSOF Cite   Objectionable Language 1                                           Objection(s)

            When the referrals from West to Methodist increased, West GO No. 9: This paragraph contains at least eight
            wanted to be paid more. Since it was already paid an amount purported facts. Reply at 49.
            under the PSA at rates that did not satisfy the central condition in
            ECG’s fair market value opinion, the only other option was to
            increase the fees under the MSA. Methodist waited to pay West
            under the MSA in 2014 until a new FMV opinion was obtained,
            and Methodist and West opinion shopped and then used the
            highest range of FMV provided. Sweet Decl., Ex. 34 (Ulery
            email to Mounce of 04/10/14); Ex. 35 (Operations Committee
            Meeting Minutes of 06/04/14); ECF No. 323-27. As discussed
            throughout, the 2014 FMV Opinion did not take into account that
            West was already engaged to perform the services for two years
            and had failed to do many of the base management items at all of
            the locations in the agreement, and that leased employees were
            doing much of the day-to-day work, which was essentially
            managing West’s own patients. The ratio of compensation to
            collections under the PSA for the 2012-2013 period was 1.45. Ex.
            I (Shorb Dep.) at 162:4-166:16; Sweet Decl., Exs 81 & 82 (West
            Invoices 2012 and West Invoices 2013).

CSOF ¶ 69   Summary charts and calculations of the relevant Methodist          GO No. 1: This assertion is not supported by
            Medicare claims data show that for the period of January 1, 2012   admissible evidence in the record. Reply at 51.
            through December 31, 2018 (“approximate deal period”),
            Medicare paid Methodist $58,816,954 for inpatient services and     GO No. 3: The government cites to a portion of
            $314,484,565 for outpatient services in which the attending        a declaration (i) for an assertion that constitutes
            physician was one of the 86 West medical providers at times        opinion and not fact; (ii) for an assertion that is not
            within that period when they were employed by West.                made based on personal knowledge; and (iii) that
            Declaration of Michael Petron, filed contemporaneously herewith    constitutes inadmissible expert testimony under
            (“Petron Decl.”), ¶¶ 4, 9.                                         Rule 702. Id.




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CSOF Cite   Objectionable Language 1                                             Objection(s)

                                                                                 GO No. 6: This assertion is not material to the
                                                                                 motion for summary judgment. Id.

CSOF ¶ 70   Of the $58,816,954 paid to Methodist for inpatient services as       GO No. 1: This assertion is not supported by
            described above, there were eight providers for which the            admissible evidence in the record. Reply at 51.
            Medicare data demonstrates that providers (1) increased the
            number of Medicare beneficiaries for whom they provided              GO No. 3: The government cites to a portion of
            services at Methodist from the pre-deal period of 2011 versus the    a declaration (i) for an assertion that constitutes
            period during the deal and (2) decreased the number of Medicare      opinion and not fact; (ii) for an assertion that is not
            beneficiaries for whom they provided services at Medicare from       made based on personal knowledge; and (iii) that
            the pre-deal period of 2011 versus the period during the deal. The   constitutes inadmissible expert testimony under
            total inpatient Medicare payments to Methodist for these eight       Rule 702. Id.
            physicians is $21,573,431. Id. ¶¶ 11, 15.
                                                                                 GO No. 6: These assertions are not material to
                                                                                 the motion for summary judgment. Id.

CSOF ¶ 71   The names of the eight physicians identified above are Drs. Jason    GO No. 1: This assertion is not supported by
            Chandler, Linda Smiley, Todd Tillmans, Robert Johnson, Mark          admissible evidence in the record. Reply at 52.
            Reed, Kurt Tauer, Bradley Somer, and Gang Tian. Id. ¶¶ 11, 15,
            and Petron Decl. Ex. 3 (Summary Chart of Medicare Inpatient          GO No. 3: The government cites to a portion of
            Claims by Attending Physician and Year).                             a declaration (i) for an assertion that constitutes
                                                                                 opinion and not fact; (ii) for an assertion that is not
                                                                                 made based on personal knowledge; and (iii) that
                                                                                 constitutes inadmissible expert testimony under
                                                                                 Rule 702. Id.

                                                                                 GO No. 6: This assertion is not material to the
                                                                                 motion for summary judgment. Id.

CSOF ¶ 72   A snapshot of this data for Dr. Mark Reed shows the following . . GO No. 1: This assertion is not supported by
            .                                                                 admissible evidence in the record. Reply at 52.


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CSOF Cite   Objectionable Language 1                                              Objection(s)

                                                                                  GO No. 2: This is not a fact, but rather the
                                                                                  government’s improper characterization of data in
                                                                                  a declaration that speaks for itself. Id.

                                                                                  GO No. 3: The government cites to a portion of
                                                                                  a declaration (i) for an assertion that constitutes
                                                                                  opinion and not fact; (ii) for an assertion that is not
                                                                                  made based on personal knowledge; and (iii) that
                                                                                  constitutes inadmissible expert testimony under
                                                                                  Rule 702. Id.

                                                                                  GO No. 6: This assertion is not material to the
                                                                                  motion for summary judgment. Id. at 53.

CSOF ¶ 73   Of the $58,816,954 paid to Methodist for inpatient services as        GO No. 1: This assertion is not supported by
            described above, there were three providers for which the             admissible evidence in the record. Reply at 53.
            Medicare data reflects that they increased the number of Medicare
            beneficiaries for whom they provided services at Methodist from       GO No. 3: The government cites to a portion of
            the pre-deal period of 2011 versus the period during the deal with    a declaration (i) for an assertion that constitutes
            a minimal change in the number of beneficiaries they provided         opinion and not fact; (ii) for an assertion that is not
            services to at Baptist in that period. The total inpatient Medicare   made based on personal knowledge; and (iii) that
            payments to Methodist for these three physicians is $9,295,683.       constitutes inadmissible expert testimony under
            Id. ¶¶ 11, 15.                                                        Rule 702. Id.

                                                                                  GO No. 6: This assertion is not material to the
                                                                                  motion for summary judgment. Id.

CSOF ¶ 74   The names of the three physicians identified above are Drs. GO No. 1: This assertion is not supported by
            Michael Martin, Stephen Besh, and Benton Wheeler. Id. ¶¶ 11, admissible evidence in the record. Reply at 53.
            15, and Petron Decl. Ex. 3 (Summary Chart of Medicare Inpatient
            Claims by Attending Physician and Year).                        GO No. 3: The government cites to a portion of
                                                                            a declaration (i) for an assertion that constitutes

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CSOF Cite   Objectionable Language 1                                              Objection(s)

                                                                                  opinion and not fact; (ii) for an assertion that is not
                                                                                  made based on personal knowledge; and (iii) that
                                                                                  constitutes inadmissible expert testimony under
                                                                                  Rule 702. Id.

                                                                                  GO No. 6: This assertion is not material to the
                                                                                  motion for summary judgment. Id.

CSOF ¶ 75   Of the $58,816,954 paid to Methodist for inpatient services as        GO No. 1: This assertion is not supported by
            described above, there were 10 providers for which the Medicare       admissible evidence in the record. Reply at 54.
            data reflects that they “started their employment at West during
            the approximate deal period and serviced all or almost all patients   GO No. 3: The government cites to a portion of
            at Methodist as compared to Methodist.” The total inpatient           a declaration (i) for an assertion that constitutes
            Medicare payments to Methodist for these three physicians is          opinion and not fact; (ii) for an assertion that is not
            $9,295,683. Petron Decl., ¶¶ 11, 15.                                  made based on personal knowledge; and (iii) that
                                                                                  constitutes inadmissible expert testimony under
                                                                                  Rule 702. Id.

                                                                                  GO No. 6: This assertion is not material to the
                                                                                  motion for summary judgment. Id.

CSOF ¶ 76   The names of the 10 physicians identified above are Drs.              GO No. 1: This assertion is not supported by
            Ramakrishna Battini, Courtney Shires, Eric Wiedower, Fenton           admissible evidence in the record. Reply at 54.
            Moon, Gregory Vidal, Daniel Vaena, Ari VanderWalde, Adam
            EINaggar, Majari Pandey, and Suhail Obaji. Id. ¶¶ 11, 15, and         GO No. 3: The government cites to a portion of
            Petron Decl. Ex. 3 (Summary Chart of Medicare Inpatient Claims        a declaration (i) for an assertion that constitutes
            by Attending Physician and Year).                                     opinion and not fact; (ii) for an assertion that is not
                                                                                  made based on personal knowledge; and (iii) that
                                                                                  constitutes inadmissible expert testimony under
                                                                                  Rule 702. Id.



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CSOF Cite   Objectionable Language 1                                              Objection(s)

                                                                                  GO No. 6: This assertion is not material to the
                                                                                  motion for summary judgment. Id.

CSOF ¶ 78   Of the $314,485,565 paid to Methodist for outpatient services as      GO No. 1: This assertion is not supported by
            described above, a summary chart lists the 86 West attending          admissible evidence in the record. Reply at 55.
            providers and shows the number of Medicare beneficiaries they
            saw at Methodist (and for which Medicare paid Methodist) during       GO No. 3: The government cites to a portion of
            the approximate deal period as compared to the number of              a declaration (i) for an assertion that constitutes
            Medicare beneficiaries they saw at Baptist during the same            opinion and not fact; (ii) for an assertion that is not
            period. Petron Decl., ¶¶ 9, 17-18 Ex. 4 (Summary Chart of             made based on personal knowledge; and (iii) that
            Medicare Outpatient Claims and Beneficiary Counts by                  constitutes inadmissible expert testimony under
            Attending Physician and Year).                                        Rule 702. Id.

                                                                                  GO No. 6: This assertion is not material to the
                                                                                  motion for summary judgment. Id.

CSOF ¶ 79   A side-by-side comparison of the above outpatient summary chart       GO No. 1: This assertion is not supported by
            reflects that there was an overall, large increase in the number of   admissible evidence in the record. Reply at 55.
            outpatient claims for which a West physician was an attending
            physician at Methodist as compared to at Baptist during the deal      GO No. 2: This is not a fact, but rather the
            period, as compared to before the deal period in 2011. Petron         government’s characterization of materials in the
            Decl., ¶¶ 9, 17-18 Ex. 4 (Summary Chart of Medicare Outpatient        record. Id.
            Claims and Beneficiary Counts by Attending Physician and
            Year).                                                                GO No. 3: The government cites to a portion of
                                                                                  a declaration (i) for an assertion that constitutes
                                                                                  opinion and not fact; (ii) for an assertion that is not
                                                                                  made based on personal knowledge; and (iii) that
                                                                                  constitutes inadmissible expert testimony under
                                                                                  Rule 702. Id.




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CSOF Cite   Objectionable Language 1                                          Objection(s)

CSOF ¶ 80   The names of the West physicians on the above outpatient GO No. 1: This assertion is not supported by
            summary chart are listed on the chart itself. Petron Decl., ¶¶ 9, admissible evidence in the record. Reply at 56.
            17-18 Ex. 4 (Summary Chart of Medicare Outpatient Claims and
            Beneficiary Counts by Attending Physician and Year).              GO No. 2: This is not a fact, but rather the
                                                                              government’s characterization of materials in the
                                                                              record. Id.

                                                                              GO No. 3: The government cites to a portion of
                                                                              a declaration (i) for an assertion that constitutes
                                                                              opinion and not fact; (ii) for an assertion that is not
                                                                              made based on personal knowledge; and (iii) that
                                                                              constitutes inadmissible expert testimony under
                                                                              Rule 702. Id.

CSOF ¶ 81   A snapshot of this outpatient data for Dr. Lee Schwartzberg shows GO No. 1: This assertion is not supported by
            the following . . .                                               admissible evidence in the record. Reply at 56–57.

                                                                              GO No. 2: This is not a fact, but rather the
                                                                              government’s characterization of materials in the
                                                                              record. Id.

                                                                              GO No. 3: The government cites to a portion of
                                                                              a declaration (i) for an assertion that constitutes
                                                                              opinion and not fact; (ii) for an assertion that is not
                                                                              made based on personal knowledge; and (iii) that
                                                                              constitutes inadmissible expert testimony under
                                                                              Rule 702. Id.

                                                                              GO No. 6: This assertion is not material to the
                                                                              motion for summary judgment. Id.



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